Case Number: KD-2017-0293
Filed in Kent County Superior Court
                  Case 1:22-cv-00018-JJM-LDA Document 1-4 Filed 01/12/22 Page 1 of 8 PageID #: 92
Submitted: 1/28/2020 4:47 PM
Envelope: 2448079
Reviewer: Takesha L.




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                                                                                                    EXhi




                                         Exhibit                    D
   e Number: KD-2017-0293--
 'edin Kent County Superiorpourt
                       Case PM
 ubmitted: 1/28/2020 '4:47
                            1:22-cv-00018-JJM-LDA Document 1-4 Filed 01/12/22 Page 2 of 8 PageID #: 93
                                             _




Envelopa‘ 24480-79 “
                                                 '



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Reviewer; "Tékeshg L.»        7




                                                                                                                                            INST-     .
                                                                                                                                                               3331351? 4-
                                                                                                                                            Bk='          1901     F's:         .46




                                                                                FORECLOSURE DEED



                       Federal National Mortgage Association


                    a corporation duly established under the laws of the United States of America and having                                                      its   usual

                   place of business                   at P.O.   Box‘650043      ,
                                                                                     Dallas   ,
                                                                                                  TX 75265-0043

                   the current holder by assignment of a mortgage



                   given              by»:   VLouis M. LeSniak



                   to                 Prévidence Postal Federal Credit Union



        02816
                   dated                 March       27,   2006 and recorded March           3'1,   2006          at   10:52     AM   in   Book 1717      at   Page 154    in


       RI          "the   Records of Land Evidence                        the   Town
                                                                     in                of Coventry,               County of Kent and State of Rhode lsland

       Coventry,
                   ,   by the power conferred by said mortgage and every other power, for                                                  ONE HUNDRED EIGHTYQ
                   THREE THOUSAND SEVEN HUNDRED                                         FIFTY        AND               35/100. ($18.3 750.35)         DOLLARS           paid,
       Avenue.


                   grants to Federal National Mortgage Association of P. O                                             Box 650043           Dallas   ,TX 75265- 0043
       Dion
                   the premises conveyed by said mortgage                             viz:
       7
                                                                                                                                                                                      '




       Address:
                                                                           That certain      parcel of zond with on the buildings and other
                                                                                                  lot or
                                                                           improvemems thereon sifuofed on the soufherfy side of Dion
                                                                           Avenue, in the Iown of Covenfry, in the S’rcfe of Rhoda island
       Propeny
                                                                           laid out ond-designated cs Lot No. 6} (sixiy-one) on that pic?
                                                                           enﬁﬂed "Rossevett     PIG? Coventry R i. by Waterman
                                                                                                                  Hills

                                                                           Engineering            Co"
                                                                                                1946" which ploi Is recorded In the Land
                                                                                                          April
                                                                           Evidence Records of The Town of Coventry in PIG? Book 3 cf
                          ‘
                                                            ~

                                                                 .
                                                                           page       108.
                                                                                                      l   1            l




                       201011-1101                                                    ?‘ﬂ-j"        9" Ly"    .
                                                                                                                           ”cl
‘Ca'se    Number: KD-2017-0293
            Kent County Superior Court
    Filed in
                         Case PM-
    Submitted: 1/28/2020 4:47
                              1:22-cv-00018-JJM-LDA Document 1-4 Filed 01/12/22 Page 3 of 8 PageID #: 94
    Envelope: 2448079~
    Reviewer? Takesba L.




                                         V

                                 ‘




                                             Meariing and intending to .convey, and. hereby ‘c‘onveying‘, the premises conveyed to this


                         Morfgagée in.thatcertain rhortgage-deed as setforth above. The_                                     premises               Were            sold           at


                         foreclosUre auétion on 1/26/2011.                      No   withholding tax   is   required under the pr'ovisionsrof R.I.G.L.
                                                                                                                                                            .

                                                                                                                                                I




                         44-30-71 .3,            in   that   no net proceeds were péyable       to the mortgagor(s).


                                                                         exempt from the     proVisions of-tHe         Rhode                                               Code
                          '          '




                 b
                                             This Convéyance        is                                                              Island Life Safety
‘




                         (RILSC) pursuant to RILSC 24.3.1.4.1(5) and 25.2.2.4.1(5), as the property                                       is    being transferred


                         pursuant to a foreclosure sale, and- no                     smoke   detectOr-and carbon monoxide detector certiﬁcation
                                                                                                                                                                                         -




                         is    required.


                                             This conveyance        is   made   subjéct to all'taxes, assessments, and. othér                        encumbrances

                         Which may               cdnstitute a lien thereon surviving said foreclosure sale,                   and    is   conveyed subject                         to


                     V

                         any         restrictions.of recdrd        and    rights of tenants in possession,       if   any, as shall notwithstanding this


                         provisions, constitute valid liens or                  enbumbrances thereon         after said Sale.


                              The grantor         is   exempt from paying the Rhode          Island state excise       stamp tax by            virtu‘e     of 12‘United
                                                                                                                                I
                                                                                         I


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                         States              Code §1452, §1723a,         or §1825.


                                             WITNESS         the execution and the corporate seal of said corporation this                     U       fday          o_f




                                 W,                             ,2011,




                                                                                                                                                                    201011-1101
                                                                                                                                                                I   pcnialr   Y   nuic
     ase Number KD 2017 0293                                                                                                ‘

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           Kent Count‘y Superior Court
    Filed in
                                          Case 1:22-cv-00018-JJM-LDA Document 1-4 Filed 01/12/22 Page 4 of 8 PageID #: 95
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     ubmitted:                     1/28/2020 4:47 PM




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    Envelope: 2448079.                                              ~                                 ‘-
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    Reviewer: Take'sha L.
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                                                                                                                                      Federai National Mortgage Association                                                                  Bk -                                        .




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                                                                                                                                  'By.
                                                                                                                                      Francis J     Nolanf Harmon Law Ofﬁces,                                                                    P. C.       as Attorney                     In           Fact*




                                                               *For signatory authority see Limited Power of Attorney recorded With the Records of Land
                                                                                                                                                                                                                                                                                                                                   ‘




                                                               Evidence In the Town of Coventry at Book 889, Page 110.




                                                               Middies'ex, ss.



                                                               On       this
                                                                                    (L'Q
                                                                                    __day bf
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                                                                                                                                  Commonwealth                   ofI-Massachusetts
                                                                                                                                                                 '




                                                                                                                                                                     2011,            befofe me, the undersigned notary public,
                                                                                                                                                                                                                                                     W                                   M            .2011


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                                                               perso'nally                 appeared                Francis            J.   Nolan,            proved           ‘to
                                                                                                                                                                                              me, through                                    satisfactory                           evidence                       of                  .                                .
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                                                               identification,              whichAwe're personal knowledge, to                                               be       the      personwhose name                                                       is   signed on                          'the
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                                                               preceding or attached'dqcument. and acknoWIedged                                                                       .to     me       that          he sighedit                                      voluntarily for.                         its
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                                                               stated purpose.



                                                               Capacity: (as                 Attorney              in       Fact?
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       .                                                       or           7       Federal National Mortqage Association                                            )                                                                       ,                                                        .
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                                                               Notary               ?gbﬂatuﬁéU                                        /‘/                                                                                                                                                                                  .
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                                                           .My commission expires:                                               147/      Zéﬂp/Lﬂ


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                                                                                                                   ‘9‘ $1 LYN/v ,1,         II,’




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                                                                                                                                                                                                                                                                                         Lesniak, Louis
                                                        7        7           '




  ase Number: KD-2017-0293
Filed in Kent County Superior Court
                              Case 1:22-cv-00018-JJM-LDA Document 1-4 Filed 01/12/22 Page 5 of 8 PageID #: 96
 eviewerfTakesha                L.




                                                                                                                                                            AFFIDAVIT


                                    l'




                                Esquire of
                                                HQW                  Harmon Law Ofﬁces, PC as
                                                                                                                       Simmons
                                                                                                                                                            attorneys for Federal National Mortgage Association

                                named                  in        the foregoing deed,                                                 make             oath and             say    that the principal               and      interest obligation

                                mentioned                        in              the mortgage above referred to were not paid or tendered or performed                                                                                          when due    or'


                                prior to the sale,                                                    and              that Federal National                    Mortgage Association                        caused       to               be published on

                                January                     5,       2011, January,12, 2011, and January 19, 2011                                                                              in   the Kent County Daily Times, a

                                public               newspaper published                                                    in   the   Town            of    West Warwick, County of Kent, State                                          of   Rhode   Island,

                                in            accordance with the provisions of said mortgage, notice of                                                                                       sale, the following being                        a true copy

                                of said notice:

                                    _    M                           ,
                                                                                                                                                        MORTGAGEE'S
                              M           '
                                                                         '
                                                                                              32%"                       .3232?                          w LA“                                                               --
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                                              :SAL___E_
                                                                                              check is required to                           I
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                               7 Dion 'A've'nue'                                              bid Other terms will                                           coventry’ RI                  $5£$iggo         01:1
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                                                                                     I                                                                                                                              bank
                    .“_         Coventry, ,RI.                       x
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                                                                                              be announced a_t the                      '1




                                                                                                                                                      The       premises           dc"                     required to
                                                                                                                                                                                           gieclzk    iS
                                                                                              Sale                               -

                                                                                                                                                      scribed              the   mort-         Other terms will
                                                                                                                                                                                                                                      -




                      The                     premises                   de_
                                                                                                                   .                                                 in.
                                                                                                                                                                                           bid
                                                                                                               HARMON LAW                             gage Win                             be announced at
                     (scribed :jn                  -’.the
                                                             mort-l                                                                                                   blel   someﬂ:
                     gage 3:111                 bﬁnsold subz                                               .
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                                                                                                                                                                                           sale
                                                                                                               gfgnCEgoftEe
                     ,lbetgnceso                aana engine);                            [,-
                                                                                                                 Holzr o'f the                        liens    on January 26,                        HAORFFMlggsLPAVCV
            '




                   on January
                     liens                                           '26,
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            "                                                                            ,=

                                                                                                                                                                                                      Attome       for the
              2011 at 4: 00 p-m                                      .on-                             15.0 California Street
                                                                                                                                                      the       premises’             by
                                                                                                                                                                             power Of                      Holdér of the
                     :the                 premlses               'Eby
                                                                                              ‘
                                                                                                      'NeWton            MA 02453                     Virtue Of the
                                                                                                                                                      sale     contained         in    a                      Mortgage
                     Virtue              'of   the   power of                                                      (6-17) 5.58“0500
                                                                                                                                                                                                150 California Street
                                                                                                       -


                                                                                                                                                  I
                                                                                                                                                      mortgage by Louis M.
                    tsa'le              contained            in              .=,a
                                                                                              #201011'1101                       YEL                                                                Newton       MA 02458
                                                                                                                                                      Lesniak dated March
                '
                     mortgage by-iLouis                              M                                                                                                                                 (617) 558 0500
                     Lesn'i'ak sdate'd

                l7, 42006 and
                    in the Coventry Land
                                                            March
                                                      reCor‘ded
                                                                                     I                                                                27,2006 and recorde d
                                                                                                                                                      in the Coventry Land
                                                                                                                                                      Evidence Records in
                                                                                                                                                                                           \   JZOIM                                      -




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                    Evidence. Records in                                                                                                              Book 1717, Page 154,
                    .‘B'ook                                                                                                                           the conditions of said
                                         1?‘,‘17    Page         154.,
                                                                                                                                                      mortgage having been
                                                                                              '




                _fhe conditions of said
                                                                                                                                                 '.




                    .moﬂgage having been                                                                                                               broken.
                    broken.



                                        20101      1-1 10]
                                                                                                                                                                                                      /Affidavit RI /Lesniak, Louis
Case Number: KD-2017-0293
Filed- in Kent County Superior Court
                      Case 1:22-cv-00018-JJM-LDA Document 1-4 Filed 01/12/22 Page 6 of 8 PageID #: 97
Submitted: 1/28/2020 4:47 P'M
                                            .




Envelone:.l2448079'
Reviewer: TakesAha L.
                                                                                                                                     INST:    0131305154-
                                                                                                                                     Bk =  19331 F's =    652
                                    l   certify that after          the expiration of at least forty-six (46) days from the date 9f mailing of


                      ,the notice required by R.|.                      Gen. Laws § 34-27-3.1,            in   accorda-nce with the terms of said mortgage


                       and pursUant             to R.|.G.L.         34-11-22 and 34427-4, as‘amended, 'notice of the time and place of the
                                                                                                                                                                                   '




                       forecIosure sale            was       mailed to the mortgagor(s) by                certified mail, return receipt         requested, at the
                                                                                                                                                                           I




                       address of the             réal estate; at the           mortgagor’s address             listed with   the tax assessor’s ofﬁce for the


                       Town        of Coventry,             if   different    from the property address; at               the.‘|ast     knowh addreés       for the


                                                                                                                                               by' Written notice to
                                                             any other address the mortgagor'may have designated
                                                                                                                                                                       '




                  A


                       mortgagor(s);            and    at


                       the mortgagee.              I   cemfy         that    such notice was sent at              least thirty (30)      days    prior to the ﬁrst


                       publication, including the                   day of mailing'In the computation.




                                    Pursuant t6 said notic'eat the time and place therein appointed, Federal National Mdrtg'age

                       Association Sold the mortgaged premises at public auction by Robert Lopez,                                                 a   duly licensed

                      'auctione'er,         to     Federal           National    Mortgage Association above-named for'ONE.                              HUNDRED

                       ElGHTY-THREE THOUSAND SEVEN HUNDRED FIFTY AND                                                     35/1 00      ($183,750.35)      DOLLARS

                       bid    by        Federal'NatiOnal Mortgage AsSociation,                            being the highest bid          made     therefor at said

                                                                                                  A
                       auction.




                                   ll
                                        further   make           affidaVit   and say   that   |   am   familiar with the contents of the         Servicemembers

                       Civil Relief Act, that to                 the best of    my knowledge and               information    and   belief,   the record owners of


                       thé prOperty described                      in   said mortgage,        namely Louis M. Lesniak,'were ndt "persons"                    in_the


                                        Service of the IUnited States of America as deﬁned by the Servicemembers
                                                                                                                                                                                       ‘




                       Military                                                                                                                         Civil Relief



                       Act;   and were not             in "Military       Service"   a_s   defined by said Act at the time of the               commencement      of


                       the within foreclosure proceeding, or at the tirme of sale under the power given by said mortgage                                                       .




                       or at any time within the period of nine (9) months immediately preceding said sale, and that the


                       above       facts    have been ascertained                after investigation duly          made;
Case Number: KD-2017-0293_—_
Filed in Kent County Superior Court
                                               ——                       W__m_—“' m—_
                                                                                          '
                                                                                               ‘
                                                                                                         '   "__        m         N   '   V




                   Case 1:22-cv-00018-JJM-LDA Document 1-4 Filed 01/12/22 Page 7 of 8 PageID #: 98
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                                           '




Submitted: 1/28/2020 4:47 F’M
                                                                                                              -




Enveloge:k2448079'
Reviewer: Takesha L.
                                                                                                                                                       INST: -00005154         v




                                                                                                                                                       Bk:  1901 Pa:   653




                                                                                                                        .H    ZWW .5,me                         ,Esquire




                                                                                Commonwealth                      of Massachusetts             ‘




                                                                                                                              '




                                                                                                                                                            Mm}, AL   .2011
                                                                                                                    -                                   -


                    Middlesex,ss;                       v
                                                                            ,         v
                                                                                                                         -.




                    Subscribed ahd sworn to before 'me                                    in   Newton; Commonwealth of Maséachusetts, on the

                   Lyﬂl             d‘ay of
                                                        Mq/Zb               .2011.




                                                                                                                                               /ﬁa—fﬁx                >Seal)

                                                                                Notary Public        -




                                                                                Printed       Namé       ﬂaw 25                          E/ij
                                                                                                                                          4_       f
                                                                                My commission                expires:             7/2é/20/é
               Q    V
                                THOMAS
                                 Notary Public
                                                   R.   EGGEA


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          NW
          4
                         COMMONWEALIH OF MASSACHUSETTS
          h.
                            My Commission Explres                       A




                                   J_UIV   22.      2016



                        20101 1-1 1 01 IPost Sale B
  ase Number. KD- 2017- 0293
                                  '




        Kent County Superior Court
IFiIed in
                  Case PM
                       1:22-cv-00018-JJM-LDA Document 1-4 Filed 01/12/22 Page 8 of 8 PageID #: 99
 ubmitted: 1/28/2020 4:47
Envelope:.,2448079‘
Reviewer: Takes_ha L.
                                                                                                                                         INST:            00005154
                                                                                                                                         Bk:        1J?E31        P13:    654


                                                              AFFIDAVIT OF COMPLIANCE WITH RIGL
                                                                                                                                                                           '



                                                                                                                           34-27-3.1                         .
                                                                                                                                                                                i




                        l,   Amy           Céhall, of Wells                  Fargo Bénk, N.A. as servicer              for Federal National               Mortgage

                        Association             named             in    the foregoing deed, based upon information contained                         in   our books

                        and records as they are kept                              in   the ordinary course of business, hereby                     make    oath and


                        state that in               accordance with R.I.G.L. 34-27-31, written notice of default and the

                        availability of             counseling              was   mailed to the mortgagor(s) on the fbllowing date, August                          ‘1,




                        2010, by            first   class mail, at the address of the real estate and,                          if   different, at the      address

                        designated by the mortgagor(s) by written notice to the mortgagee as the mortgagor's




                                                                                                                                               O
                        address for receipt of written notices.
                                                                                                                                                             H


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                                                                                                      Bycgy                                                        /
                                                                                                      Assistant Vice President


                                                                                        State     ofSJﬂwau no;
                                      m.
                                           \L         -
                                                          I




                                                                  County, ss.                                              SWWM-                     2C1          2011




                                                                        M
                             >2




                        Subscribed+P1d sworn to before
                        onthe              ZQ         day              of
                                                                                    Eﬁ
                                                                            M‘B—m 3L,
                                                                                       me   in

                                                                                                      2011.
                                                                                                             [[Iu’ll   (city/town)            8Q          State




                                                                        Notary Public

                                                                        Printed   Name           K‘E'She N‘QJ‘S
                                                                   ~



                                                                        My commission            expires:    Q \312 02      I




                        201 01    1,-1   101I/Post Sale       B

                                                                                                   mKEISHA
                                                                                                       WELLS
                                                                                        Notary" blic, South
                                                                                                            Carolina                            TOWN 0F CDVENTRYv R.I.
                                                                                           My Commission Expires                                 Oct 36:2011 ﬂ8=59=SIA
                                                                                                  February 03 202]
                                                                                                                                               Cheryl é George; TONN-CLERK
